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TO: Honorable John A. Gibney Jr.
       In the United States District Court
       For the Eastern District of Virginia
       Richmond Division I


FROM: Larry A. Drew Sr.
           4123 Robert E. Lee Drive
           Hopewell, Virginia


Subject: Witness for Monique R. Small Drew


Dear Sir
  My name is Larry A Drew Sr. for Monique R. Small Drew in her case against
Virginia Commonwealth University Parking and Transportation. I was employed at
the university from December 1998 until December 2014. I was an enforcement
supervisor and worked mainly the evening shift 3:00 pm to 11:00. I have witness
and have personal knowledge of some enforcement officers whom were given
accommodation. The following example will allow you to see what they were.


   •    Enforcement Officer James Carter requested and granted that he be place
        in a parking both due to the fact that he had seniority. Officer Carter was
        working the midnight shift to the evening shift Monique already was station
        in the booth at that present time. Accommodation
   •    Enforcement Officer Curtis Monk (Former employee) requested to transfer
        From the evening shift (15:00 to 23:00} hours due to transportation issues
        with family. Accommodation
   •    Enforcement Officer Troy Petty requested to come to work at 05:00 hours
        instead of 07:00 hours due to babysitting issues and was granted. Midnight
        shift personnel were still on duty until 07:00 hours and had no reason to
        have additional personnel needed. Accommodation
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    •   Enforcement Officer Gary Hughes asked and was granted to change his shift
        from 07:00 hours to 08:00 hours due to the fact that he was constantly late
        for work and could not arrive on time for his shift which was granted.
        Accommodation
    •   Enforcement Officer Gary Hughes was removed from mobile patrol of the
        VCU campus due to the fact that he was not issuing parking citations and
        placed in a parking booth. Accommodation
    •   Enforcement Officer Marvin Lewis injury his knee while playing basketball
        off duty which required surgery and he was placed in a parking both due to
        his lack of mobility. Accommodation
    •   Enforcement Officer Vanessa Hung was injury at work and placed in parking
        booth. Accommodation
    •   Enforcement Officer Terry Welton was in dock status for not having leave
        time on a constant having no time to cover for his absent.
        Accommodation.


        Enforcement Manager Bernard Adams approach and stated that he had
        been selected to ask me if Monique would consider becoming a cashier. I
        informed Mr. Adams to check with Monique for the answer. There was
        some type of meeting with the management staff had taking place.


        Monique Small Drew and I did not work together on any shift, she was on
        West Campus and I was on the East Campus. There were other
        enforcement officers given accommodation all the time, but she was not
        afforded any after both campuses merge together on 9 February 2014. She
        was removed from her shift of 3:30 pm to 8:00 pm to the Day shift with the
        hours of 10:00 am to 2:00 pm. She simply could have change her days of
        working to Thursday and Friday and there would have been no conflicts.


        Sincerely
        Larry A. Drew Sr.
